

People v Veras (2022 NY Slip Op 05503)





People v Veras


2022 NY Slip Op 05503


Decided on October 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 04, 2022

Before: Gische, J.P., Friedman, Scarpulla, Rodriguez, Higgitt, JJ. 


Ind. No. 2612/12 Appeal No. 16321 Case No. 2017-263 

[*1]The People of the State of New York, Respondent,
vFernando Veras, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Nathan Shi of counsel), for respondent.



Judgment, Supreme Court, New York County (Jill Konviser, J.), rendered July 18, 2016, as amended October 20, 2016, convicting defendant, upon his plea of guilty, of criminal contempt in the first degree, and sentencing him, as a second felony offender, to a term of 1½ to 3 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the provision of the order of protection directing that it remain in effect until July 17, 2027, and remanding the matter for a new determination of the duration of the order, and otherwise affirmed.
As the People concede, the order of protection's expiration date is incorrect because it did not take into account the jail time credit to which defendant is entitled (see People v Natal, 200 AD3d 620 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 4, 2022








